USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 1 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 2 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 3 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 4 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 5 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 6 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 7 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 8 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 9 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 10 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 11 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 12 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 13 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 14 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 15 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 16 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 17 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 18 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 19 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 20 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 21 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 22 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 23 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 24 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 25 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 26 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 27 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 28 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 29 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 30 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 31 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 32 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 33 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 34 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 35 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 36 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 37 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 38 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 39 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 40 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 41 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 42 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 43 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 44 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 45 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 46 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 47 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 48 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 49 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 50 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 51 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 52 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 53 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 54 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 55 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 56 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 57 of 58
USDC IN/ND case 2:19-cv-00220-JTM-JPK document 1 filed 06/17/19 page 58 of 58
